             Case 3:20-cv-01732-JD Document 14 Filed 05/20/20 Page 1 of 1



                                     UNITED STATES DISTRICT COURT

                                   NORTHERN DISTRICT OF CALIFORNIA

                                           RELATED CASE ORDER

         A Motion for Administrative Relief to Consider Whether Cases Should be Related or a Sua Sponte
Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been filed. The time for
filing an opposition or statement of support has passed. As the judge assigned to case

         19-cv-00507-JD
         Lopez v. Sony Interactive Entertainment, LLC
        I find that the more recently filed case(s) that I have initialed below are related to the case
assigned to me, and such case(s) shall be reassigned to me. Any cases listed below that are not related to
the case assigned to me are referred to the judge assigned to the next-earliest filed case for a related
case determination.



 Case                  Title                                                     Related         Not Related
 20-cv-01732-JST Crawford v. Sony Interactive Entertainment LLC JD


                                                   ORDER



         The parties are instructed that all future filings in any reassigned case are to bear the initials of
the newly assigned judge immediately after the case number. Any case management conference in any
reassigned case will be rescheduled by the Court. The parties shall adjust the dates for the conference,
disclosures and report required by FRCivP 16 and 26 accordingly. Unless otherwise ordered, any dates for
hearing noticed motions are vacated and must be re- noticed by the moving party before the newly
assigned judge; any deadlines set by the ADR Local Rules remain in effect; and any deadlines established
in a case management order continue to govern, except dates for appearance in court, which will be
rescheduled by the newly assigned judge.




Dated: May 20, 2020                                   By:

                                                      James Donato

                                                      United States District Judge




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